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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


MICHAEL MOSS and MARYANN MOSS,
on behalf of themselves and on behalf of
JENNIFER MOSS

               Plaintiffs,                                Case No. 1:13-cv-1081
       v.
                                                          JURY DEMAND
LA ENTRADA AT RANCHO VIEJO
COMMUNITY ASSOCIATION, INC.

               Defendant.



                   COMPLAINT FOR INJUNCTIVE, DECLARATORY,
                           AND MONETARY RELIEF

                                    NATURE OF ACTION

       1.      Plaintiffs Michael Moss and Mary Ann Moss bring this action on behalf of

themselves and on behalf of their daughter Jennifer Moss under the federal Fair Housing Act, 42

U.S.C. §§ 3601, et seq., and the Americans with Disabilities Act, 42 U.S.C. §§ 12181, et seq., to

redress injuries they have suffered and continue to suffer as a result of Defendant La Entrada at

Rancho Viejo Community Association, Inc.’s (“Association”) actions and inactions related to

Jennifer Moss’s access to the home in the La Entrada at Rancho Viejo community.

       2.      Michael and Mary Ann Moss own the home at 93 Via Orilla Dorado in La

Entrada at Rancho Viejo. Their daughter, Jennifer Moss, is wheelchair dependent for mobility

due to cerebral palsy. For years, the sidewalk running in front of the Mosses home had no curb

cuts and Jennifer Moss had to be pushed off the curb and into the street if she wanted to travel

from her home. In addition, the Mosses’ immediate neighbors to the east, Kenneth and Eunice
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Vellon, have made it a regular practice to park their cars in their driveway, which completely

blocks the sidewalk along Via Orilla Dorado.

       3.      The Association maintains and enforces rules, regulations, and covenants and

provides services for the La Entrada at Rancho Viejo community. The Association has the

authority to preclude or take enforcement action against activities that violate local or state laws,

including the state law that prohibits parking vehicles on sidewalks, but has taken no effective

action to prevent the Vellons from blocking the sidewalk. In fact, the Association has given the

Vellons permission to park their vehicles on the sidewalk. In addition, for many years, the

Association failed to ensure that curb cuts were installed on the north side of Via Orilla Dorado.

       4.      The Association has denied the Mosses’ requests for a reasonable accommodation

that would allow Jennifer Moss to travel along the sidewalk to the east of her home, including to

the bus stop, the community mailboxes, and to the public open space in the community.

       5.      By its actions, the Association has injured Jennifer Moss through its denial of her

rights under the Fair Housing Act and Americans with Disabilities Act and has further injured

Michael and Mary Ann Moss because of their association with their daughter.

       6.      On the basis of the violations asserted herein, the Mosses seek compensatory and

punitive damages, a declaratory judgment, and an injunction directing the Association to desist

from and remedy its discriminatory conduct.

                                             PARTIES

       7.      Jennifer Moss is wheelchair dependent for mobility and as such has a disability as

defined under the Fair Housing Act and Americans with Disabilities Act. Ms. Moss has cerebral

palsy, which substantially limits her ability to walk – a major life activity. Ms. Moss regularly

stays at the home at 93 Via Orilla Dorado, Santa Fe, New Mexico.



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       8.      Michael and Mary Ann Moss are the parents and legal guardians of Jennifer

Moss. The Mosses own the home at 93 Via Orilla Dorado. The Mosses regularly live with their

daughter at the home at 93 Via Orilla Dorado. The Mosses regularly push Ms. Moss in her

wheelchair from her home to various locations in the surrounding community.

       9.      La Entrada at Rancho Viejo Community Association, Inc., is an active

corporation incorporated under the laws of New Mexico with its principal place of business at

9798 Coors Blvd, Building A, Albuquerque, New Mexico. The Association is a duly organized

homeowners association under the laws of New Mexico. Under the La Entrada at Rancho Viejo

charter, the Association maintains rules, regulations, and covenants for the community. The

Association operates and maintains a variety of public common areas in the community,

including the public walkways, small parks/open spaces, and community mailbox. At all times

relevant to this complaint, the Association retained and exercised the authority to enforce the

Association Rules and Community Charter.

                                JURISDICTION AND VENUE

       10.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 and 28

U.S.C. § 1343(a)(4).

       11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because the

events giving rise to the claims occurred in the District of New Mexico.


                                 FACTUAL BACKGROUND

I.     The Mosses’ Home in La Entrada

       12.     In the summer of 2009, Michael and Mary Ann Moss signed a contract for the

construction of a house at 93 Via Orilla Dorado. The Mosses closed on the completed home in

January 2010 and moved in the next month.

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       13.     The Mosses, who also own a home in Colorado, stay approximately a quarter to

half of their time in the home at 93 Via Orilla Dorado, depending on the season and the activities

occurring in Santa Fe that would interest and involve their daughter. When the Mosses

purchased the house at 93 Via Orilla Dorado, they planned to permanently relocate there as soon

as practicable. However, concern for their daughter’s safety and mobility within her community,

in light of the discriminatory barriers at La Entrada, have prevented them from moving to their

Santa Fe home. The Mosses would move to their home in Santa Fe if Jennifer Moss could

access the home safely.

       14.     On a typical day at 93 Via Orilla Dorado, Jennifer Moss, with assistance from her

parents or a caregiver, will engage in a variety of activities outside the home that require

travelling to the bus stop, the community mailbox, her uncle’s home, and other common and

public areas of the community.

II.    The Lack of Access to the Mosses’ Home

       15.     Until the summer of 2013, there were no curb cuts in the sidewalk on the north

side of Via Orilla Dorado where the Mosses’ home is located. To access any area of the

community (other than the short length of sidewalk to the west of her home that leads to an

undeveloped area) by any means other than a vehicle, Ms. Moss would have to negotiate the

dangerous maneuver of taking her wheelchair off the curb and be pushed up the road until she

could reach a curb cut on the south side of Via Orilla Dorado. She could then get back on the

sidewalk and travel to her destination.

       16.     Ms. Moss must be pushed up the street because throughout the Mosses’ tenure on

Via Orilla Dorado, the owners of the home adjacent to the Mosses to the east—Kenneth and

Eunice Vellon—have parked their vehicles in their driveway in front of their garage. When



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parked in their driveway, the Vellons’ cars completely obstruct the sidewalk on the north side of

Via Orilla Dorado:




       17.     The Association provided the Vellons permission to park their vehicles on the

sidewalk. Upon information and belief, the Association took this action because it did not want

to make an exception to its rule that homeowners in the community cannot park on the street.

       18.     In the summer of 2013, after years of requests by the Mosses, the Association

installed curb cuts at two points along the north side of Via Orilla Dorado. The curb cut to the

east of the Mosses’ home remains inaccessible to Ms. Moss because the Vellons’ vehicles block

the sidewalk that must be traversed in order to reach that curb cut. The curb cut to the west of

the Mosses’ home leads to a mostly undeveloped area with a non-completed sidewalk where

there are no services or common or public areas.




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       19.     To the east of the Mosses home there are hiking and biking trails that were

marketed by the Association and influenced the Mosses’ decision to purchase the home. There

are paths and open spaces owned, operated and/or under the control of the Association that

Jennifer Moss would use more frequently if she could access them without having to take her

wheelchair off the curb.

       20.     Michael and Mary Ann Moss informed Association representatives on numerous

occasions that Jennifer Moss is wheelchair dependent due to her cerebral palsy and that the

absence of curb cuts and the Vellons’ cars obstructed Ms. Moss’s access to and from her home.

       21.     As early as the summer of 2011, an Association Board Member acknowledged in

a conversation with Mrs. Moss that vehicles parked in the driveway of 95 Via Orilla Dorado

would block Ms. Moss’ access.

III.   Lack of Access to Parks and Open Spaces Owned By Defendants

       22.     The open spaces and small parks owned and operated by the Association are open

indiscriminately to use by members of the public. Members of the public who are not

constrained by disability regularly use these places for various purposes.

       23.     The Vellons’ vehicles obstruct wheelchair access to the parks and open spaces.

The Association has not taken any effective action to remove those obstacles and allow Ms.

Moss equal and safe access to the parks.

IV.    The Mosses’ Attempts to Seek Accommodation from Association to Allow Ms. Moss
       Access to Her Home

       24.     In August 2011, Mr. Moss made a request to Rexford Ross, a representative of the

developer and member of the Association Board, to have curb cuts installed on the north side of

Via Orilla Dorado. Mr. Moss also stated to Mr. Ross that the vehicles consistently parked in the

driveway of 95 Via Orilla Dorado blocked Ms. Moss’ access along the sidewalk and further

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prevented her (in addition to the difficulties created by the absence of curb cuts) from accessing

the common areas of the complex, the bus stop serving the neighborhood, and other areas she

would otherwise have frequented. Mr. Ross informed Mr. Moss that he would investigate the

issue.

         25.   At the November 2011 Association Board meeting, Mr. Moss spoke again to Mr.

Ross regarding the curb cuts. Mr. Ross responded that the concrete pouring season was over and

that the Association would ensure that cuts were installed at the first opportunity during the

following season.

         26.   In December 2011, Mr. Moss reminded Mr. Ross, and the then-current

Association Board Members that the absence of curb cuts was interfering with Ms. Moss’s use

and enjoyment of the family’s home.

         27.   In March 2012, an Association Board Member confirmed that the Association had

granted a “variance” to the owners of 95 Via Orilla Dorado to park their cars in their driveway,

which would necessarily block the sidewalk.

         28.   In November 2012, Mr. Moss informed newly elected Association Board Member

Cass Thompson regarding the effect of the Vellons’ parked cars on Ms. Moss’s ability to leave

her home. Mr. Moss also described to Mr. Thompson the ongoing effect of the absence of curb

cuts. Mr. Moss asked that both obstacles be remediated. Mr. Thompson indicated that he would

check into the issue.

         29.   On December 3, 2012, Mr. Moss contacted Association Board Member

Thompson to determine the status of resolving the lack of access for Ms. Moss. Mr. Thompson

replied that he still had to confer with others before providing any response.




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         30.     On December 22, 2012, Mr. Moss again contacted Association Board Member

Thompson to determine the status of resolving the access issues. Mr. Thompson responded “I’ll

let you know.”

         31.     On January 13, 2013, Mr. Moss wrote to the Association Board and Association

Manager reiterating the need for curb cuts and a clear path of access along the sidewalk that was

continuously blocked by the Vellons’ vehicles.

         32.     On January 16, 2013, Mr. Moss asked Association Board Members Cass

Thompson and Pat Barnes to resolve the access issues. They responded that they would confer

and get back to him.

         33.     On January 17, 2013, Mr. Moss re-sent his January 13, 2013 correspondence

asking for a resolution to the access issues to all members of the newly elected Association

Board.

         34.     During the early Spring of 2013, Mr. Moss exchanged several emails and had

several conversations with Board Member Barnes regarding the access issues but the Board took

no action.

         35.     On March 26, 2013, Mr. Moss re-sent his January 17, 2013 correspondence

asking for a resolution to the access issues to Association Manager John Holt. Mr. Holt stated to

Mr. Moss that he understood that the Board had granted a variance to the Vellons to allow them

to park their car in their driveway, which would necessarily block the sidewalk.

         36.     In May 2013, Association Manager Holt stated that the Board would write a letter

to the Vellons. The Board did not inform the Mosses of the content of the letter.




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       37.     If the Board sent a letter to the Vellons regarding their blocking the sidewalk with

their cars, it did not change the Vellons’ parking practice, as both of their vehicles continued to

be parked in the driveway, blocking the sidewalk.

       38.     On July 3, 2013, Board Members Barnes and Thomas discussed Ms. Moss’s

access issues with the Mosses, but no satisfactory resolution was reached.

       39.     On August 19, 2013, the Mosses’ legal counsel contacted the Association by letter

and again articulated the access obstacles created for Jennifer Moss by the vehicles parked in the

95 Via Orilla Dorado driveway and the absence of curb cuts. The letter identified the

Association’s authority to enforce state laws, the state law that prohibits the parking of vehicles

on sidewalks, and the remedies available to the Association. The letter specifically requested a

reasonable accommodation from any practice or policy that prevented the Association from

taking action to remove the vehicles parked on the sidewalk.

       40.     On August 28, 2013, counsel for the Association responded by noting that the

Association had forwarded the Mosses’ counsel’s letter to the Vellons and suggesting that it

would take no further action.

       41.     On September 3, 2013, counsel for the Mosses informed counsel for the

Association that it had not taken any effective action to ensure Ms. Moss’s access along the

sidewalk running in front of her house and that the Vellons’ cars continued to block the

sidewalk.

       42.     The Association did not respond to the September 3, 2013 correspondence.

       43.     As of the date of the filing of this complaint, the Vellons continue their practice of

blocking the sidewalk.




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V.     The Association’s Authority and Actions

       44.     Under its charter, Defendant retains and exercises the authority to enforce

Association rules and local and state laws.

       45.     State law prohibits stopping, standing, or parking a vehicle on a sidewalk.

N.M.S.A. § 66-7-351.

       46.     Defendant’s governance of the Association is a term, condition, and privilege of

the purchase of homes, including Plaintiffs’ purchase of the home at 93 Via Orilla Dorado, in La

Entrada at Rancho Viejo.

       47.     Defendant’s enforcement and authority to enforce Association rules and local and

state laws is a service within the meaning of 42 U.S.C. § 3604(f)(2).

       48.     Defendant owns and operates parks and/or open spaces that are places of public

accommodation within the meaning of 42 U.S.C. § 12181.

       49.     Federal law imposes on Defendant a duty to maintain access to the parks and open

spaces in operable working condition, including the duty to keep access to those places clear of

obstacles where their removal would be readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv); 28

C.F.R. § 36.211(a).

       50.     Plaintiffs’ numerous requests that the Association exercise its authority to require

the Vellons to move their cars and/or to revoke the permission given the Vellons to park on the

sidewalk constitute requests for accommodations. The Association refused to grant the

accommodations. The requested accommodations were reasonable and are explicitly

contemplated and authorized by the Association’s own rules. Requiring the Vellons to move

their vehicles would not impose any undue financial or administrative burden on the Association

or alter the nature of the Association’s operation.



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        51.     Through the actions of its Board Members, officers, and/or representatives as

described above, the Association acted intentionally, maliciously, and with willful, callous,

wanton, and reckless disregard for Plaintiffs’ federally-protected rights.

                                      INJURY TO PLAINTIFFS

        52.     As a direct and proximate result of the Association’s actions, policies and

practices, Plaintiffs have suffered, and in the future will continue to suffer humiliation,

embarrassment, and mental and emotional distress.

        53.     The Mosses have constant anxiety about Jennifer’s safety and the safety of

anyone who has to attend to her in any outdoor activity around their home. When Jennifer wants

or needs to leave the home to engage in any activity in the community or to take public

transportation, it creates stress and concern for the Mosses because she is forced to go over

a curb and be pushed in the street.

        54.     The absence of accessible routes from the home has prevented and continues to

prevent Ms. Moss from obtaining a housing opportunity that is accessible to people without

disabilities.

        55.     The absence of accessible routes from the home has prevented and continues to

prevent the Mosses from purchasing an electric scooter that Ms. Moss could operate on her own.

The risk of Ms. Moss injuring herself trying to drive off the curb is too great for the Mosses to

get the scooter.

        56.     The absence of safe access to the parks and open space operated by Defendant has

prevented and continues to prevent Ms. Moss from enjoying recreation opportunities available to

other members of the public.




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       57.     The continued lack of access for Jennifer Moss along the Via Orilla Dorado

sidewalk and Defendant’s refusal to ameliorate that lack of access have prevented Plaintiffs from

moving permanently to Santa Fe and their home at 93 Via Orilla Dorado.

                                FIRST CLAIM FOR RELIEF
             (Violation of the Federal Fair Housing Act, 42 U.S.C. § 3601, et seq.)

       58.     Plaintiffs reallege and incorporate by reference all of the allegations set forth in

paragraphs 1 through 57 above.

       59.     The actions of Defendant as described herein make housing unavailable to

Plaintiffs on the basis of Jennifer Moss’ disability in violation of 42 U.S.C. § 3604(f)(1).

       60.     The actions of Defendant as described herein constitute discrimination in the

terms, conditions, and/or privileges of Plaintiffs’ dwelling and/or in the provision of services or

facilities in connection with Plaintiffs’ dwelling on the basis of Jennifer Moss’ disability in

violation of 42 U.S.C. § 3604(f)(2).

       61.     The actions of Defendant as described herein constitute discrimination by a

refusal to make reasonable accommodations in rules, policies, and/or practices, which are

necessary to afford Jennifer Moss equal opportunity to use and enjoy the Mosses’ home at 93

Via Orilla Dorado. These actions violate 42 U.S.C. § 3604(f)(3)(B).

                             SECOND CLAIM FOR RELIEF
         (Violation of the Americans with Disabilities Act, 42 U.S.C. § 12101, et seq.)

       62.     Plaintiffs reallege and incorporate by reference all of the allegations set forth in

paragraphs 1 through 61 above.

       63.     The actions of Defendant as described herein constitute discrimination by a

refusal to make reasonable modifications to afford services, facilities, privileges, advantages, or

accommodations to Jennifer Moss in violation of 42 U.S.C. § 12182(b)(2)(A)(ii).



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       64.       The actions of Defendant as described herein constitute discrimination by a

refusal to remove architectural barriers in existing facilities where such removal is readily

achievable and a failure to maintain access to places of public accommodation in operable

working condition. These actions violate 42 U.S.C. § 12182(b)(2)(A)(iv) and 28 C.F.R.§ 36.211.

                                      PRAYER FOR RELIEF

       65.       Plaintiffs pray that this Court grant the following relief:

               i.       enter a declaratory judgment finding that the foregoing actions of

       Defendant violate the Fair Housing Act, 42 U.S.C. §§ 3601, et seq. and the Americans

       with Disabilities Act, 42 U.S.C. §§ 12101, et seq.;

              ii.       enter a permanent injunction directing Defendant and its Board Members,

       employees, and representatives to take all affirmative steps necessary to remedy the

       effects of the illegal, discriminatory conduct described herein and to prevent similar

       occurrences in the future;

             iii.       award compensatory damages in an amount to be determined by the jury

       that would fully compensate Plaintiffs for the humiliation, embarrassment, and mental

       and emotional distress caused by the conduct of Defendant alleged herein;

             iv.        award punitive damages to the Plaintiffs in an amount to be determined by

       the jury that would punish Defendant for its willful, wanton, and reckless conduct alleged

       herein and that would effectively deter Defendant from engaging in similar conduct in the

       future;

              v.        award Plaintiffs their reasonable attorneys’ fees and costs pursuant to 42

       U.S.C. §§ 3613(c)(2) and 12205;

             vi.        order such other relief as this Court deems just and equitable.



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                               DEMAND FOR JURY TRIAL

      66.   Plaintiff requests trial by jury as to all issues in this case.

Dated: November 6, 2013

                                             Respectfully submitted,

                                             _/s/ Reed Colfax_______________
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